        Case:
     Case:     1:16-cv-00224-SNLJ,
           1:16-cv-00224-SNLJ  Doc.Document: 3, 09/13/16
                                    #: 4 Filed:  Filed: 09/12/2016,
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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI


ANDREW JOHNSON                                      Case No.: 1:16-cv-00224-SNL

                    Plaintiff
v.                                                  PROPOSED ORDER
JOHNSON & JOHNSON, et. al.

                     Defendant(s)



                                                      ORDER


        IT IS ORDERED that Plaintiff's Motion for Extension of Time to file an Amended Complaint or

in the alternative a Stay on the entire action is hereby granted pending transfer to the Multi-District

Litigation in the United States District Court, District of Minnesota, IN RE: FLUOROQUINOLONE

PRODUCTS LIABILITY LITIGATION, 15-MD-2642


                                                  ,/;r&~,
                                               Honorable Judge Stephen N. Limbaugh, Jr.
